Case 2:Ol-cr-20045-SHI\/| Document 41 Filed 07/12/05 Page 1 of 2 Page|D 45 _

 

IN THE UNITED sTATEs DISTRICT coURT Fn£° BYUC:/-- °'G'
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION GSJUL 12 PH 51 110
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UNITED sTATEs oF AM:E:RICA, C|.EH;®U.S.BSTR%§TOOUT
W' 0F11.111:MP1~HS
vs. No. 01-20045-Ma

TAMARA WILLIAMS,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE HEARING

 

Before the court is the July l, 2005, motion by Tamara
Williams, to reset the hearing which was set on July 15, 2005.
Counsel for the government does not oppose the resetting. For
good cause shown, the motion is granted. The Rule 35 hearing is

reset to Thursday, July 21, 2005, at 2:00 p.m.

It is so ORDERED this n'y<'tila\y of :3:;z ZSFB.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

